      Case 1:22-mc-00100 Document 7-1 Filed on 10/26/22 in TXSD Page 1 of 1

                 IN THE UNITED STATES DISTRICT COURT
           SOUTHERN DISTRICT OF TEXAS – BROWNSVILLE DIVISION


 SCARBOROUGH,                              )
                                           )
        Movant,                            )
                                           ) Case Misc. Action No. 1:22-mc-00100
 v.                                        )
                                           ) Judge Fernando Rodriguez, Jr.
 LOZANO, et al.,                           )
                                           )
        Respondents                        )


                                    PROPOSED ORDER


Pending before this Court is the Motion of Movant, Jennifer Scarborough, for Sanctions (Dkt.
No .___). After reviewing the Motion, the record, and the applicable law, the Court is of the
opinion that:

______ The Motion for a Sanctions should be granted;

______ The Motion for Sanctions should be denied.


It is SO ORDERED.

Signed this _______ of ________________, 2022.

                                                   _____________________________________


                                                         _______________________________
                                                         UNITED STATES DISTRICT JUDGE




                                               1
